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042575/19344/MHW/EAK

                    UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

MICHAEL DAVIS,

                     Plaintiff,
                                                 No. 17-cv-3654
v.

STATEVILLE PRISON GUARD WESAM S.                 Judge Elaine E. Bucklo
ALI, ILLINOIS DEPARTMENT OF
CORRECTIONS (IDOC), NURSE "MARY",
and WEXFORD HEALTH SOURCES, INC,                 Magistrate Judge M. David Weisman
                     Defendants.


                              Agreed Confidentiality Order

        The parties to this Agreed Confidentiality Order have agreed to the terms of

 this Order; accordingly, it is ORDERED:

1.      Scope. All materials produced or adduced in the course of discovery, including

initial disclosures, responses to discovery requests, deposition testimony and exhibits,

and information derived directly therefrom (hereinafter collectively “documents”), shall

be subject to this Order concerning Confidential Information as defined below. This

Order is subject to the Local Rules of this District and the Federal Rules of Civil

Procedure on matters of procedure and calculation of time periods.

 2.     Confidential Information. As used in this Order, “Confidential Information”

 means information designated as “CONFIDENTIAL-SUBJECT TO PROTECTIVE

 ORDER” by the producing party that falls within one or more of the following categories:

 (a) information prohibited from disclosure by statute; (b) information that reveals trade

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 secrets; (c) research, technical, commercial or financial information that the party has

 maintained as confidential; (d) Wexford Health Sources, Inc.’s policies and procedures;

 (e) personal identity information; (f) income tax returns (including attached schedules

 and forms), W-2 forms and 1099 forms; or (g) Wexford Health Sources, Inc.’s contract

 with the State of Illinois; or, (h) copy of the declaration page for the insurance policy

 which provides coverage for Wexford in the instant matter. Information or documents

 that are available to the public may not be designated as Confidential Information.


        3.     Designation.

(a)     A party may designate a document as Confidential Information for protection

under this Order by placing or affixing the words “CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER” on the document and on all copies in a manner that will not

interfere with the legibility of the document. As used in this Order, “copies” includes

electronic images, duplicates, extracts, summaries or descriptions that contain the

Confidential Information. The marking “CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER” shall be applied prior to or at the time of the documents are

produced or disclosed. Applying the marking “CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER” to a document does not mean that the document has any

status or protection by statute or otherwise except to the extent and for the purposes of

this Order. Any copies that are made of any documents marked “CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER” shall also be so marked, except that indices,

electronic databases or lists of documents that do not contain substantial portions or

images of the text of marked documents and do not otherwise disclose the substance


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of the Confidential Information are not required to be marked.

       (b)    The designation of a document as Confidential Information is a

certification by an attorney or a party appearing pro se that the document contains

Confidential Information as defined in this order.3

        4.     Depositions.

       Alternative A. Deposition testimony is protected by this Order only if

designated as “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” on the

record at the time the testimony is taken. Such designation shall be specific as to the

portions that contain Confidential Information. Deposition testimony so designated

shall be treated as Confidential Information protected by this Order until fourteen days

after delivery of the transcript by the court reporter to any party or the witness. Within

fourteen days after delivery of the transcript, a designating party may serve a Notice of

Designation to all parties of record identifying the specific portions of the transcript that

are designated Confidential Information, and thereafter those portions identified in the

Notice of Designation shall be protected under the terms of this Order. The failure to

serve a timely Notice of Designation waives any designation of deposition testimony as

Confidential Information that was made on the record of the deposition, unless

otherwise ordered by the Court.

       Alternative B. Unless all parties agree on the record at the time the deposition

 testimony is taken, all deposition testimony taken in this case shall be treated as

 Confidential Information until the expiration of the following: No later than the

 fourteenth day after the transcript is delivered to any party or the witness, and in no

 event later than 60 days after the testimony was given, Within this time period, a party
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may serve a Notice of Designation to all parties of record as to specific portions of the

testimony that are designated Confidential Information, and thereafter only those

portions identified in the Notice of Designation shall be protected by the terms of this

Order. The failure to serve a timely Notice of Designation shall waive any designation

of testimony taken in that deposition as Confidential Information, unless otherwise

ordered by the Court.

       5.     Protection of Confidential Material.

              (a)     General Protections. Confidential Information shall not be used

or disclosed by the parties, counsel for the parties or any other persons identified in

subparagraph (b) for any purpose whatsoever other than in this litigation, including

any appeal thereof.

              (b)     Limited Third-Party Disclosures. The parties and counsel for the

parties shall not disclose or permit the disclosure of any Confidential Information to

any third person or entity except as set forth in subparagraphs (1)-(9). Subject to these

requirements, the following categories of persons may be allowed to review

Confidential Information:

              (1)     Counsel. Counsel for the parties and employees of counsel
                      who have responsibility for the action;

              (2)     Parties. Individual parties and employees of a party but only to
                      the extent counsel determines in good faith that the employee’s
                      assistance is reasonably necessary to the conduct of the litigation
                      in which the information is disclosed;

              (3)     The Court and its personnel;

              (4)     Court Reporters and Recorders. Court reporters and
                      recorders engaged for depositions;

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              (5)    Contractors. Those persons specifically engaged for the limited
                     purpose of making copies of documents or organizing or
                     processing documents, including outside vendors hired to
                     process electronically stored documents;

              (6)    Consultants and Experts. Consultants, investigators, or experts
                     employed by the parties or counsel for the parties to assist in the
                     preparation and trial of this action but only after such persons
                     have completed the certification contained in Attachment A,
                     Acknowledgment of Understanding and Agreement to Be Bound;

              (7)    Witnesses at depositions. During their depositions, witnesses in
                     this action to whom disclosure is reasonably necessary.
                     Witnesses shall not retain a copy of documents containing
                     Confidential Information, except witnesses may receive a copy of
                     all exhibits marked at their depositions in connection with review of
                     the transcripts. Pages of transcribed deposition testimony or
                     exhibits
                     to depositions that are designated as Confidential Information
                     pursuant to the process set out in this Order must be
                     separately bound by the court reporter and may not be
                     disclosed to anyone except as permitted under this Order.

              (8)    Author or recipient. The author or recipient of the document
                     (not including a person who received the document in the course
                     of litigation); and

              (9)    Others by Consent. Other persons only by written consent of the
                     producing party or upon order of the Court and on such
                     conditions as may be agreed or ordered.

              (c)    Control of Documents. Counsel for the parties shall make

 reasonable efforts to prevent unauthorized or inadvertent disclosure of Confidential

 Information. Counsel shall maintain the originals of the forms signed by persons

 acknowledging their obligations under this Order for a period of three years after

 the termination of the case.

6.     Inadvertent Failure to Designate. An inadvertent failure to designate a

document as Confidential Information does not, standing alone, waive the right to so


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designate the document; provided, however, that a failure to serve a timely Notice of

Designation of deposition testimony as required by this Order, even if inadvertent,

waives any protection for deposition testimony. If a party designates a document as

Confidential Information after it was initially produced, the receiving party, on

notification of the designation, must make a reasonable effort to assure that the

document is treated in accordance with the provisions of this Order. No party shall be

found to have violated this Order for failing to maintain the confidentiality of material

during a time when that material has not been designated Confidential Information,

even where the failure to so designate was inadvertent and where the material is

subsequently designated Confidential Information.

        7.     Filing of Confidential Information. This Order does not, by itself,

authorize the filing of any document under seal. Any party wishing to file a

document designated as Confidential Information in connection with a motion, brief

or other submission to the Court must comply with LR 26.2.

        8.     No Greater Protection of Specific Documents. Except on privilege

grounds not addressed by this Order, no party may withhold information from

discovery on the ground that it requires protection greater than that afforded by this

Order unless the party moves for an order providing such special protection.

        9.     Challenges by a Party to Designation as Confidential Information.

The designation of any material or document as Confidential Information is subject

to challenge by any party. The following procedure shall apply to any such

challenge.

               (a)    Meet and Confer. A party challenging the designation of

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Confidential Information must do so in good faith and must begin the process by

conferring directly with counsel for the designating party. In conferring, the

challenging party must explain the basis for its belief that the confidentiality

designation was not proper and must give the designating party an opportunity to

review the designated material, to reconsider the designation, and, if no change in

designation is offered, to explain the basis for the designation. The designating party

must respond to the challenge within five (5) business days.

               (b)     Judicial Intervention. A party that elects to challenge a

confidentiality designation may file and serve a motion that identifies the challenged

material and sets forth in detail the basis for the challenge. Each such motion must

be accompanied by a competent declaration that affirms that the movant has

complied with the meet and confer requirements of this procedure. The burden of

persuasion in any such challenge proceeding shall be on the designating party. Until

the Court rules on the challenge, all parties shall continue to treat the materials as

Confidential Information under the terms of this Order.

       10.     Action by the Court. Applications to the Court for an order relating to

materials or documents designated Confidential Information shall be by motion.

Nothing in this Order or any action or agreement of a party under this Order limits

the Court’s power to make orders concerning the disclosure of documents produced

in discovery or at trial.

       11.     Use of Confidential Documents or Information at Trial. Nothing in this

Order shall be construed to affect the use of any document, material, or information at

any trial or hearing. A party that intends to present or that anticipates that another

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party may present Confidential information at a hearing or trial shall bring that issue to

the Court’s and parties’ attention by motion or in a pretrial memorandum without

disclosing the Confidential Information. The Court may thereafter make such orders as

are necessary to govern the use of such documents or information at trial.

       12.    Confidential Information Subpoenaed or Ordered Produced in Other

Litigation.

              (a)    If a receiving party is served with a subpoena or an order issued

in other litigation that would compel disclosure of any material or document

designated in this action as Confidential Information, the receiving party must so

notify the designating party, in writing, immediately and in no event more than three

court days after receiving the subpoena or order. Such notification must include a

copy of the subpoena or court order.

              (b)    The receiving party also must immediately inform in writing the

party who caused the subpoena or order to issue in the other litigation that some or

all of the material covered by the subpoena or order is the subject of this Order. In

addition, the receiving party must deliver a copy of this Order promptly to the party in

the other action that caused the subpoena to issue.

              (c)    The purpose of imposing these duties is to alert the interested

persons to the existence of this Order and to afford the designating party in this case

an opportunity to try to protect its Confidential Information in the court from which the

subpoena or order issued. The designating party shall bear the burden and the

expense of seeking protection in that court of its Confidential Information, and nothing

in these provisions should be construed as authorizing or encouraging a receiving

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party in this action to disobey a lawful directive from another court. The obligations set

forth in this paragraph remain in effect while the party has in its possession, custody or

control Confidential Information by the other party to this case.

        13.    Challenges by Members of the Public to Sealing Orders. A party or

interested member of the public has a right to challenge the sealing of particular

documents that have been filed under seal, and the party asserting confidentiality

will have the burden of demonstrating the propriety of filing under seal.

        14.    Obligations on Conclusion of Litigation.

              (a) Order Continues in Force.       Unless otherwise agreed or ordered,

this Order shall remain in force after dismissal or entry of final judgment not subject to

further appeal.

                  (b) Obligations at Conclusion of Litigation. Within sixty-three days

after dismissal or entry of final judgment not subject to further appeal, all Confidential

Information and documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE

ORDER” under this Order, including copies as defined in ¶ 3(a), shall be returned to

the producing party unless: (1) the document has been offered into evidence or filed

without restriction as to disclosure; (2) the parties agree to destruction to the extent

practicable in lieu of return; or (3) as to documents bearing the notations,

summations, or other mental impressions of the receiving party, that party elects to

destroy the documents and certifies to the producing party that it has done so.

        (c)    Retention of Work Product and one set of Filed Documents.

Notwithstanding the above requirements to return or destroy documents, counsel

may retain (1) attorney work product, including an index that refers or relates to

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designated Confidential Information so long as that work product does not duplicate

verbatim substantial portions of Confidential Information, and (2) one complete set

of all documents filed with the Court including those filed under seal. Any retained

Confidential Information shall continue to be protected under this Order. An

attorney may use his or her work product in subsequent litigation, provided that its

use does not disclose or use Confidential Information.

              (d)    Deletion of Documents filed under Seal from Electronic Case

Filing (ECF) System. Filings under seal shall be deleted from the ECF system only

upon order of the Court.

       15.    Order Subject to Modification. This Order shall be subject to

modification by the Court on its own initiative or on motion of a party or any

other person with standing concerning the subject matter.

       16.    No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating

discovery. Nothing herein shall be construed or presented as a judicial determination

that any document or material designated Confidential Information by counsel or the

parties is entitled to protection under Rule 26(c) of the Federal Rules of Civil

Procedure or otherwise until such time as the Court may rule on a specific document

or issue.

       17.    Persons Bound. This Order shall take effect when entered and shall be

binding upon all counsel of record and their law firms, the parties, and persons made

subject to this Order by its terms.



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         So Ordered.



  Dated: 3/27/2019
                                         U.S. District Judge




 WE SO MOVE                                        WE SO MOVE
 and agree to abide by the                         and agree to abide by the
 terms of this Order                               terms of this Order


/s/ Edward A. Khatskin                  /s/        Melinda Power
 Signature                                         Signature

 Edward A. Khatskin                                       Melinda Power
 Printed Name                                      Printed Name


 Counsel for: WEXFORD HEALTH SOURCES,              Counsel for: _ Plaintiff     _
 INC.,



 Dated: 3/25/19                                    Dated:




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                                      ATTACHMENT A


042876/19344/MHW/EAK

                         U.S. DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

MICHAEL DAVIS,

                     Plaintiff,

v.                                                No. 17-cv-3654
STATEVILLE PRISON GUARD WESAM
S. ALI, ILLINOIS DEPARTMENT OF                    Judge Elaine E. Bucklo
CORRECTIONS (IDOC), NURSE "MARY",
and WEXFORD HEALTH SOURCES, INC,
                                                  Magistrate Judge M. David Weisman
                     Defendants.




                                    ACKNOWLEDGMENT
                                          AND
                                  AGREEMENT TO BE BOUND


        The undersigned hereby acknowledges that he/she has read the Confidentiality

 Order dated _                                      in the above-captioned action and

 attached hereto, understands the terms thereof, and agrees to be bound by its terms.

 The undersigned submits to the jurisdiction of the United States District Court for the

 Northern District of Illinois in matters relating to the Confidentiality Order and

 understands that the terms of the Confidentiality Order obligate him/her to use materials

 designated as Confidential Information in accordance with the Order solely for the

 purposes of the above-captioned action, and not to disclose any such Confidential

 Information to any other person, firm or concern.
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        The undersigned acknowledges that violation of the Confidentiality Order may

result in penalties for contempt of court.



Name:

Job Title:

Employer:

Business Address:




Date:

                                   Signature



                                                                      Adopted 06/29/12
